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                         IN THE UNITED STATES DISTRICT  UR
                           FOR THE DISTRICT OF CONNECTf UT                     I LED
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 IN RE: SUBPOENA TO j2 GLOBAL, INC.                    Misc. No.
 N-18-1-77 (Control #182)
                                                                       .S. DISTRICT COURT
                                                       Filed Under S    aJ.EW. HtWr:N CT.
                                                                                  d   L..l   '   ""   •




  APPLICATION FOR ORDER COMMANDING J2 GLOBAL, INC. NOT TO NOTIFY
            ANY PERSON OF THE EXISTENCE OF A SUBPOENA

        The United States requests that the Court order J2 Global, Inc. not to notify any person

(including the subscribers and customers of the account(s) listed in the attached subpoena) of the

existence of the attached subpoena for 360 days.

        J2 Global, Inc. is a provider of an electronic communication service, as defined in 18

U.S.C. § 2510(15), and/or a remote computer service, as defined in 18 U.S. C.§ 2711(2). Pursuant

to 18 U.S.C. § 2703, the United States obtained the attached grand jury subpoena (N-18-1-77,

Control #182, which will not be included in the sealing envelope), that requires J2 Global, Inc. to

disclose certain records and information to the Grand Jury. This Court has authority under 18

U.S. C. § 2705(b) to issue "an order commanding a provider of electronic communications service

or remote computing service to whom a warrant, subpoena, or court order is directed, for such

period as the court deems appropriate, not to notify any other person of the existence of the warrant,

subpoena, or court order." !d.

       In this case, such an order is appropriate because the attached subpoena relates to the U.S.

Marshals Service's ongoing investigation of a target for falsely representing he is a U.S. Marshal

and for threatening a person with arrest for missing jury duty and contempt of court. This

investigation is not public and its disclosure may alert the target(s) to the ongoing investigation.

Accordingly, there is reason to believe that notification of the existence of the attached subpoena
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will seriously jeopardize the investigation, including by: giving the target(s) an opportunity to flee,

destroy or tamper with evidence, change patterns of behavior, intimidate potential witnesses, or

endanger the life or physical safety of an individual. See 18 U.S.C. § 2705(b ). Some of the

evidence in this investigation is stored electronically. If alerted to the existence of the subpoena,

the target(s) under investigation could destroy that evidence, including information saved to his

personal computers.

       WHEREFORE, the United States respectfully requests that the Court grant the attached

Order directing J2 Global, Inc. not to disclose the existence or content of the attached subpoena,

except that J2 Global, Inc. may disclose the attached subpoena to an attorney for J2 Global, Inc.

for the purpose of receiving legal advice.

       The United States further requests that the Court order that this application and any

resulting order be sealed until further order of the Court. As explained above, these documents

discuss an ongoing criminal investigation that is neither public nor known to the target( s) of the

investigation. Accordingly, there is good cause to seal these documents because their premature

disclosure will seriously jeopardize the investigation.

       Executed on May 4, 2018.




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